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UNITED STATES OF AMERICA
Plaintiff,
VS. CR. NO. 04-20398

JAMES LONG
Defendant.

 

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AND SETTING

 

This cause came to be heard on July 6, 2005, the United States
Attorney for this district, Valeria Rae Oliver, appearing for the Government
and the defendant, James Long, appearing in person and with counsel,

L. Daniel Johnson, who represented the defendant.

With leave Of the Court, the defendant withdrew the not guilty plea
heretofore entered and entered a plea of guilty to Count(s) l of the
Indictment.

Plea colloquy was held and the Court accepted the guilty plea.

SENTENCING in this case is SET for THURSDAY, OCTOBER 6, 2005, at
1:30 P.M., in Courtroom Nb. 3, on the 9th floor before Judge Bernice B.
Donald.

Defendant is allowed to remain released on present bond.

ere-renee this the [Q~”\ day of July. 2005.

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TED STATES DISTRICT JUDGE

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UNITED sATE DSTIIC COURT - WE"RNT DISTRCT OFTENNESSEE

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This notice confirms a copy of the document docketed as number 39 in
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U.S. ATTORNEY'S OFFICE
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Honorable Bernice Donald
US DISTRICT COURT

